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                                                                      USDC SDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK
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                                                                      DATE FILED: 12/6/2019
 UNITED STATES,                                                :
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                              -v-                              :
                                                               :      1:19-cr-00451-GHW
                                                               :
 SHAWN DAWKINS,                                                :            ORDER
                                                               :
                                               Defendant. :
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GREGORY H. WOODS, United States District Judge:

         On November 26, 2019, Defendant Shawn Dawkins filed an application to modify the

conditions of pre-trial release to permit him to apply for a passport, and to travel to Jamaica. Dkt.

No. 31. On December 5, 2019, the Court held a hearing on the application. The application was

granted. The conditions of the defendant’s pretrial release are modified as follows: The defendant

is permitted to apply for a passport. Immediately upon its issuance, he must provide it to his pre-

trial services officer. It may be released by the pre-trial services officer to Mr. Dawkins to permit

him to travel to Jamaica and must be returned to his pre-trial services officer promptly following his

return from Jamaica.

          Mr. Dawkins may travel to Jamaica to appear at the United States embassy to complete his

daughter’s application. He must notify the pre-trial services officer of his travel plans once they are

finalized, and he must notify the pre-trial services officer promptly following his return to the

United States. The Court understands that the travel to Jamaica will last no more than one week.
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        With the exception of these modifications, all other conditions of Mr. Dawkins’ pre-trial

release remain in full force and effect.



        SO ORDERED.

Dated: December 6, 2019
       New York, New York                               __________________________________
                                                               GREGORY H. WOODS
                                                              United States District Judge




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